Case 2:23-cr-00054-TPB-KCD Document 16 Filed 05/08/23 Page 1 of 1 PagelD 43

»

AO 442 (Rev. 11/11) Arrest Warrant IL ED)

 

UNITED STATES DISTRICT COURT

 

203 MAY ~8 PH 33] for the my fF
es U.S. DISTRICT Coury Middle District of Florida .
MIDDLE DISTRICT OF FLORIDA
RT MYERS, FLORIDA“
United States of America
v. ) KCL )
) Case No, 2:23-cr- U-Pb
GAVIN MICHAEL HAROLD )
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) GAVIN MICHAEL HAROLD
who is accused of an offense or violation based on the following document filed with the court:

 

Indictment [1 Superseding Indictment Information © Superseding Information © Complaint
Probation Violation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Possession of Child Pornography.

In violaton of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2).

 

 

 

 

 

 

 

Date: 05/03/2023 - ——- X
Ly Issuing officer's signature
City and state: Fort Myers, Florida ELIZABETH WARREN, Clerk, United States District Court
Printed name and title
Return
This warrant was received on (date) We , Pu 2°23, and the person was arrested on (date) (Vty f 2 023
at (city and state) [= 7 s .

 

Date: / pe Zou LL Z. ~ ff EAL

Arresting officer& signature

Do» tn 0€ (LE ~ TA OSFIL

Printed name and title

 

 

 
